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cx NORTHERN DISTRICT OF TEXAS
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oO \S 73. FOR THE NORTHERN DISTRICT OF TEXAS 0c} | 2007
Ors FORT WORTH DIVISION .
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CLEaK, US DISTRICT COUR®
STEVEN GETER, individually and on FF ee
behalf of others similarly situated,
Plaintiff, mA Ce BE ge ew
civ. action'td. * 60og-f

-v-
COLLECTIVE ACTION COMPLAINT
RHINO MEDICAL STAFFING, LLC a/k/a
RHINO MEDICAL SERVICES, PATRICK
ESKEW, and JOE BRUNSON,

COR OR COR WOR? KOR SOR CO? SOR 2 Cr? Kn

Defendants.

PLAINTIFF’S ORIGINAL COMPLAINT — COLLECTIVE ACTION

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:
NOW COMES Steven Geter and file this Plaintiff's Original Complaint — Collective
Action.

I.
JURISDICTION

1. This Court has original jurisdiction to hear this complaint and to adjudicate these
claims under 28 U.S.C. § 1331, this action being brought under the Federal Fair Labor Standards
Act, 29 U.S.C. § 201 et seq. (“FLSA”).

II.
PARTIES

2. Plaintiff Steven Geter is an individual who resides in Lewisville, Texas, over the
age of 18 years of age, and otherwise sui juris. In or about June, 2006, Geter became employed

by Defendants as a Recruiter and remained in this job until October, 2007. By reason of such

PLAINTIFFS’ ORIGINAL COMPLAINT — COLLECTIVE ACTION — Page 1

Case 4:07-cv-00658-@ Document1 Filed 10/31/07 Be 2of7 PagelD 2

employment, Geter was employed by an enterprise engaged in commerce within the meaning of
29 U.S.C. § 206(a) and § 207(a). Further, Geter was personally engaged in commerce. The
work Geter performed was directly related to the business conducted by Defendants in interstate
commerce.

3. Plaintiff brings this action on behalf of himself and those current and former
employees similarly situated to him, through the Defendants’ enterprise, for compensation and
other relief under the FLSA, as amended, 29 U.S.C. § 201, et seq.

4. Defendant Rhino Medical Staffing, LLC a/k/a Rhino Medical Services (“Rhino”)
is a domestic corporation with its principle place of business in Arlington, Texas. Rhino was an
“employer” within the meaning of FLSA, 29 U.S.C. § 203(d).

5. Defendant Patrick Eskew (“Eskew”) was the owner and/or operator of Rhino
during the applicable statute of limitations. Eskew was an “employer” within the meaning of
FLSA, 29 U.S.C. § 203(d). Eskew acted directly or indirectly in the interest of himself and the
Defendants in relation to Plaintiff and the putative class. The actions of Eskew resulted in a
tortuous injury to Plaintiff that occurred in the state of Texas. Eskew had control over the duties
assigned and wages paid to the Plaintiff in the state of Texas. Texas has an interest in ensuring
that its employees are compensated in accordance with the law and that its businesses are not
subject to unfair competition from competitors who do not comply with the law.

6. Defendant Joe Brunson (“Brunson”) was the owner and/or operator of Rhino
during the applicable statute of limitations. Brunson was an “employer” within the meaning of
FLSA, 29 U.S.C. § 203(d). Brunson acted directly or indirectly in the interest of himself and the
Defendants in relation to Plaintiff and the putative class. The actions of Brunson resulted in a

tortuous injury to Plaintiff that occurred in the state of Texas. Brunson had control over the

PLAINTIFFS’ ORIGINAL COMPLAINT — COLLECTIVE ACTION — Page 2

Case 4:07-cv-00658-\ Document1 Filed 10/31/07 @- 3o0f7 PagelD 3

duties assigned and wages paid to the Plaintiff in the state of Texas. Texas has an interest in
ensuring that its employees are compensated in accordance with the law and that its businesses
are not subject to unfair competition from competitors who do not comply with the law.

7. Defendants acted in all respects pertinent to this action as the agent of the other,
carried out a joint scheme, business pan, or policy in all respects pertinent to this suit, and the
acts of each are legally attributable to the other. The Defendants essentially operate as a single
entity, and share resources and physical facilities.

Il.
COLLECTIVE ACTION ALLEGATIONS

8. During the statutory period, Plaintiff and the similarly situated employees
routinely worked as Recruiters for Defendants in excess of forty (40) hours per week without
overtime compensation.

9. Defendants operate a medical staffing company.

10. Plaintiff and the similarly situated employees had the same job duties. They
would place phone calls medical professionals in the attempt to get them to sign contracts with
Defendants.

11. Nothing about their job exempts Recruiters from the overtime requirements of the
FLSA. The FLSA requires these employees to be paid at a rate of one-and-one-half times their
regular rate of pay for each hour worked over forty in a workweek.

12. Instead of being paid hourly with overtime, Recruiters were paid a base salary
plus commission.

13. These practices violate the provisions of the Federal Fair Labor Standards Act, 29
U.S.C. § 201 et seqg., specifically § 206 and § 207(a)(1). As a result of these unlawful practices,

Plaintiffs and the similarly situated employees suffered a loss of wages.

PLAINTIFFS’ ORIGINAL COMPLAINT — COLLECTIVE ACTION - Page 3

Case 4:07-cv-00658-Y@Document 1 Filed 10/31/07 Be 4of7 PagelD4

14. Defendants showed reckless disregard for the fact that their failure to pay their
agents overtime compensation and minimum wages was in violation of these laws. Defendants
were willful in violating the FLSA

IV.
JURY DEMAND

15. Plaintiffs exercise their right to a jury and tender the appropriate fee.

V.
PRAYER FOR RELIEF

WHEREFORE, Plaintiffs and all employees similarly situated who join in this action
demand:

1. Issuance of notice as soon as possible to all Recruiters who are or were employed
by Defendants during any portion of the three years immediately preceding the filing of this
action. Generally, this notice should inform them that this action has been filed, describe the
nature of the action, and explain their right to opt into this lawsuit if they were not paid minimum
wage for hours worked as agents during any portion of the statutory period or if they worked
hours in excess of forty (40) in any week during the statutory period, but were not paid overtime
compensation;

2. Judgment against Defendants for an amount equal to Plaintiffs’ unpaid back

wages at the applicable overtime rate;

3. Judgment against Defendants that their violations of the FLSA were willful;

4. An equal amount to the overtime and minimum wage damages as liquidated
damages;

5. To the extent that liquidated damages are not awarded, an award of prejudgment
interest;

PLAINTIFFS’ ORIGINAL COMPLAINT — COLLECTIVE ACTION — Page 4

Case 4:07-cv-00658-A@@ Document 1 Filed 10/31/07 ec Sof7 PagelD5

6. All costs and attorney’s fees incurred prosecuting these claims;

7. Leave to add additional Plaintiffs by motion, the filing of written consent forms,
or any other method approved by the Court;

8. Leave to amend to add claims under applicable state laws;

9. Injunctive relief enjoining future violations of the FLSA by Defendants of the
type complained of by Plaintiffs; and

10. For such further relief as the Court deems just and equitable.

Respectfully submitted,

Sue nai I RE,

By: =
Robert J. Wiley
Texas Bar No. 24013750

Board Certified Specialist, Labor & Employment
Law, Texas Board of Legal Specialization

3131 Turtle Creek Blvd., Ste. 310

Dallas, Texas 75219

Telephone: (214) 528-6500

Facsimile: (214) 528-6511

rwiley@robwiley.com

Attorney for Plaintiffs

PLAINTIFFS’ ORIGINAL COMPLAINT — COLLECTIVE ACTION -— Page 5

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provided by local rules of court. This_f

of initiating the civil docket REVERSE OF THE FORM.)

neither replace nor supplement the filing and service of plead ings or other papers as required by law, except as
icial Confgrence of the United States in September 1974, is re quired for the use of the Clerk of Court for the purpose

1 (@) PLAINTIFF
Steven Geter

DEFENDANTS

County of Residence of First Listed Defendant

Rhino Medical Staffing, LLC, Patrick Eskew, Joe Brunson

Tarrant

LAND INVOLVED.

(IN U.S. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE

(c) Attomney’s (Firm Name, Address, and Telephone Number)

Robert J. Wiley, Rob Wiley, P.C., 3131 Turtle Creek Blvd., Ste. 310,
Dallas, TX 75219 (214) 528-6500

Attorneys (If Kn

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OTC

None Known.

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Il. BASIS OF JURISDICTION (Place an “X” in One Box Only) WU. CITIZENSHIP OF PRINCIPAL PARTIES lace an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
1 U.S. Government $33 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State o1 (1 1 Incorporated or Principal Place 14 4
of Business In This State
(12 U.S. Government (14 Diversity Citizen of Another State 112 © 2 Incorporated and Principal Place os as
Defendant . .. - . of Business In Another State
(Indicate Citizenship of Parties in Item III)
Citizen or Subject of a (13 1 3. Foreign Nation fle O06
Foreign Country

lV. NAT URE OF SUIT (Place an “X” in One Box Only)

7 110 Insurance PERSONAL INJURY PERSONALINJURY [CJ 610 0 Agriculture (CI 422 Appeal 28 USC 158 (1 400 State Reapportionment
[J 120 Marine (J 310 Airplane (1 362 Personal Injury - [1 620 Other Food & Drug (CJ 423 Withdrawal (J 410 Antitrust
71 130 Miller Act [-] 315 Airplane Product Med. Malpractice "I 625 Drug Related Seizure 28 USC 157 (11 430 Banks and Banking
[1 140 Negotiable Instrument Liability (1 365 Personal Injury - of Property 21 USC 881 1} 450 Commerce
(1 150 Recovery of Overpayment [7] 320 Assault, Libel & Product Liability (11 630 Liquor Laws yo ((} 460 Deportation
& Enforcement of Judgment Slander {1 368 Asbestos Personal [C] 640 R.R. & Truck LJ 0 Copyrights (2 470 Racketeer Influenced and
(1 151 Medicare Act (C330 Federal Employers’ Injury Product (] 650 Airline Regs. (C1 830 Patent Corrupt Organizations
CJ 152 Recovery of Defaulted Liability Liability [-} 660 Occupational (1 840 Trademark J 480 Consumer Credit
Student Loans (} 340 Marine PERSONAL PROPERTY Safety/Health (1 490 Cable/Sat TV
(Excl. Veterans) (1) 345 Marine Product (1 370 Other Fraud [J 690 Other (1 810 Selective Service
(11 153 Recovery of Overpayment Liability (J 371 Truth in Lending ES R : d [1 850 Securities/Commodities/
of Veteran’s Benefits ([} 350 Motor Vehicle (I 380 Other Personal 710 Fair Labor Standards L4 861 ia (1395ff) Exchange
77 160 Stockholders’ Suits (1 355 Motor Vehicle Property Damage Act 5 862 Black Lung (923) [1 875 Customer Challenge
11 190 Other Contract Product Liability [1 385 Property Damage (J 720 Labor/Mgmt. Relations [TJ 863 DIWC/DIWW (405(g)) 12 USC 3410
11 195 Contract Product Liability [7 360 Other Personal Product Liability [1 730 Labor/Mgmt.Reporting (1) 864 SSID Title XVI [1 890 Other Statutory Actions
(1) 196 Franchise & Disclosure Act "1 865 RSI (405(g)) [1 891 Agricultural Acts
NSC 740 Railway Labor Act Ee ee 892 Economic Stabilization Act
(4 210 Land Condemnation LI 441 Von LJ 510 Motions to Vacate [1] 790 Other Labor Litigation [_] 870 Taxes (US. Plaintiff ([] 893 Environmental Matters
7] 220 Foreclosure 7] 442 Employment Sentence ["} 791 Empl. Ret. Inc. or Defendant) I} 894 Energy Allocation Act
(J 230 Rent Lease & Ejectment IC] 443 Housing/ Habeas Corpus: Security Act (} 871 IRS—Third Party (J 895 Freedom of Information
(1 240 Torts to Land Accommodations (1) 530 General 26 USC 7609 Act
(C1 245 Tort Product Liability (444 Welfare "1 535 Death Penalty 3 900 Appeal of Fee Determination
(J 290 All Other Real Property (1) 445 Amer. w/Disabilities - {7] 540 Mandamus & Other Under Equal Access
Employment [I 550 Civil Rights to Justice
(C1) 446 Amer. w/Disabilities - [7] 555 Prison Condition (1 950 Constitutionality of
Other State Statutes
(I 440 Other Civil Rights
Appeal to District
V. ORIGIN (Place an “X” in One Box Onl Transferred from Judge from
1 Original (1 2 Removed from 3 Remanded from O 4 Reinstatedor O 5 another district O16 Multidistrict 0 7 Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity ):

VI. CAUSE OF ACTION Brief description of cause: Unpaid overtime/Fair Labor Standards Act

VII. REQUESTED IN CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: Yes [INo
VOI. RELATED CASE(S)
PENDING OR CLOSED “8°45: sUDGE DOCKET NUMBER
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FOR OFFICE USE ONLY
RECEIPT FEL HR our 2 . (> APPLYING IFP JUDGE MAG. JUDGE

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NORTHERN DISTRICT OF TEXAS

Civil Filing Notice - Fort Worth Division

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This case has been assigned to District Judge:
(Complete if applicable)
TRANSFERRED FROM: DATE FILED:

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recording of documents filed with the Clerk. A complete list of phone numbers for both the judges’
chambers and the docket clerks is provided. - a

- Judge Pleadings Filed
oo (A)- Sudge: Joba) McBRYDE © : 2 me (817)850-6611 .
> Bven’ Cases: 850-6652, Odd Cases: 950-6653 oO SES cas ee
(Y) Judge Terry R. MEANS (817)850-6673 ~ (817)850-6612

(BE) Magistrate Judge Charles BLEIL, (817)850-6690 (817)850-6697

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